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                                                                                 FILED
                                                                      John E. Triplett, Acting Clerk
                                                                       United States District Court

                                                                   By jburrell at 3:50 pm, Feb 19, 2021
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          STATESBORO DIVISION

UNITED STATES OF AMERICA                   ) INFORMATION NO.                6:21cr-002
                                           )
              v.                           ) 18 u.s.c. § 1343
                                           ) Wire Fraud
TRACY KIRKLAND                             )
                                           ) 18 u.s.c. § 2
                                           ) Aiding and Abetting

THE UNITED STATES ATTORNEY CHARGES THAT:

At all times relevant to this case:

       1.    Financial Institution 1 was a federally insured financial institution

based in Georgia.     Financial Institution 1 was an SBA Preferred Lender and

participated as a PPP lender to small businesses.

              The Small Business Administration and the CARES Act

      2.     The United States Small Business Administration ("SBA") was an

executive-branch agency of the United States government that provided support to

entrepreneurs and small businesses. The mission of the SBA was to maintain and

strengthen the nation's economy by enabling the establishment and viability of small

businesses and by assisting in the economic recovery of communities after disasters.

      3.     As part of this effort, the SBA enabled and provided for loans through

banks, credit unions, and other lenders that had government-backed guarantees. The

SBA also provided direct loans.

      4.     In or around March 2020, the Coronavirus Aid, Relief, and Economic

Security ("CARES") Act was enacted to provide emergency financial assistance to the

millions of Americans suffering adverse economic effects caused by the COVID-19
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pandemic. The CARES Act established several new temporary programs and

provided for expansion of others, including programs created and/or administered by

the SBA.

                          The Paycheck Protection Program

      5.     One source of relief provided by the CARES Act was the authorization

of up to $349 billion in forgivable loans to small businesses for job retention and

certain other expenses, through a program referred to as the Paycheck Protection

Program ("PPP"). In or around April 2020, Congress autho1·ized over $300 billion in

additional PPP funding.

      6.     In order to obtain a PPP loan, a qualifying business was required to

submit a PPP loan application, which was signed by an authorized representative of

the business. The PPP loan application required the business (through its authorized

representative) to acknowledge the program rules and make certain affirmative

certifications in order to be eligible to obtain the PPP loan. In the PPP loan

application, the small business (through its authorized representative) was required

to state, among other things, its: (i) average monthly payroll expenses; and (ii)

number of employees. These figures were used to calculate the amount of money the

small business was eligible to receive under the PPP. In addition, businesses applying

for a PPP loan were required to provide documentation showing their payroll

expenses.

      7.     A PPP loan application was required to be processed by a participating

financial institution ("lender"). If a PPP loan application was approved, the lender




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funded the PPP loan using its own monies, which were 100% guaranteed by the SBA.

Data from the application, including information about the borrower, the total

amount of the loan, and the listed number of employees, was transmitted by the

lender to the SBA in the course of processing the loan.

      8.     PPP loan proceeds were required to be used by the business on certain

permissible expenses: payroll costs, interest on mortgages, rent, and utilities. The

PPP allowed the interest and principal on the PPP loan to be entirely forgiven if the

business SpE:;nt the loan proceeds on these expense items within a designated period

of time after receiving the proceeds and used a certain amount of the PPP loan

proceeds on payroll expenses.

                   The Economic Injury Disaster Loan Program

      9.     The Economic Injury Disaster Loan ("EIDL") program was an SBA

program that provided low-interest financing to small businesses, renters, and

homeowners in regions affected by declared disasters.


      10.    The CARES Act authorized the SBA to provide EIDLs to eligible small

businesses experiencing substantial financial disruptions due to the COVID-19

pandemic. In addition, the CARES Act authorized the SBA to issue advances of up to

$10,000 to small businesses. The amount of the advance was determined by the

number of employees the applicant certified having. The advances did not have to be

repaid.


      11.    In order to obtain an EIDL and advance, a qualifying business was

required to submit an application to the SBA and provide information about its


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operations, such as the number of employees, gross revenue for the 12-month period

preceding the disaster, and cost of goods sold in the 12-month period preceding the

disaster. In the case o{EIDLs for COVID-19 relief, the 12-month period was that

preceding January 31, 2020. The applicant was also required to certify that all of the

information in the application was true and correct to the best of the applicant's

knowledge.


      12.    EIDL applications were submitted directly to the SBA and processed by

the agency with support from a government contractor, Rapid Finance. The amount

of the loan, if the application was approved, was determined based, in part, on the

information provided in the application concerning the number of employees, gross

revenue, and cost of goods, as described above. Any funds issued under an EIDL or·

advance were issued. directly by the SBA. EIDL funds were permitted to be used for

payroll expenses, sick leave, production costs, and business obligations, such as debts,

rent, and mortgage payments. If the applicant also obtained a loan under the PPP,

the EIDL funds were not permitted to be used for the same purpose as the PPP funds.


                               The Scheme to Defraud

      13.    From in or around May 2020, continuing up to and including at least in

or around August 2020, Defendant KIRKLAND devised a scheme to defraud by

submitting and causing to be submitted false and fraudulent loan applications (i) to

the SBA in order to obtain funds through the EIDL program and (ii) to Financial

Institution 1 in order to obtain funds through the PPP.




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                             Object of the Scheme to Defraud

       14.       It was the purpose of the scheme for Defendant KIRKLAND to unjustly

enrich herself and others by obtaining EIDL and PPP loan proceeds under false and

misleading pretenses, including by making false statements that she operated a she

operated a business named "Kirklands Hair N Beauty" located in Swainsboro,

Georgia, when she did not.


                                   Manner and Means

       15.   On or       about July    30,   2020,   Defendant   KIRKLAND    applied

electronically for an EIDL from the SBA ("SBA Loan #6059798202). In connection

with her EIDL Application, Defendant KIRKLAND falsely affirmed, among other

information, that she operated a business named "Kirklands Hair N Beauty" located

in Swainsboro, Georgia, and that the business had three employees, and in the twelve

months prior to the disaster, had $253,423 in gross revenues and $120,673 in cost of

goods sold. On or about August 10, 2020, EIDL Application was approved for an

EIDL loan in the amount of $66,400.


       16.   On or about August 12, 2020, approximately $66,400 in PPP funds were

deposited into an account controlled by Defendant KIRKLAND at Financial

Institution 1.




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                                      COUNT ONE
                                       Wire Fraud
                                     18 U.S.C. § 1343

      17.      Paragraphs 1-16 of this Information are realleged and incorporated herein.

      18.      Beginning in or about May 2020, and continuing until in or about

August 2020, within the Southern District of Georgia, and elsewhere, the defendant,

                                  TRACY KIRKLAND,

and others known and unknown to the grand jury, aided and abetted by each other,

having knowingly devised and intended to devise a scheme and artifice to defraud,

and to obtain money and property by means of materially false and fraudulent

pretenses, representations, and promises, did transmit and cause to be transmitted

by means of wire communications in-interstate commerce, writings, signs, signals,

pictures, and sounds for the purpose of executing such scheme and artifice, as set

forth below:


   Count         Approximate Date                          Description

      1            August 12, 2020        Wire transfer of $66,400 that the SBA, ln
                                          Colorado, caused to be routed in interstate
                                          commerce to Defendant KIRKLAND's
                                          account at Financial Institution 1.


      All in violation of Title 18, United States Code, Section 1343 and 2.




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. Kat1 I. Knoche                         Steven H. Lee
  Assistant United States Attorney       Assistant United States Attorney
  Chief, Criminal Division               * Lead Counsel




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